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 1                                       UNITED STATES DISTRICT COURT
 2                                           DISTRICT OF NEVADA
 3 UNITED STATES OF AMERICA,                                   CASE NO. 2:15-cr-174-KJD-PAL
 4
                     Plaintiff,
 5   vs.                                                       ORDER GRANTING LEAVE TO
                                                               ALLOW THE COORDINATING
 6 MICHAEL JONES,                                              DISCOVERY ATTORNEY TO FILE
   JASON DEMKO,                                                STATUS REPORTS UNDER SEAL
 7 MICHAEL GUARIGLIA,                                          ON CM/ECF
 8 CHARLENE SCOTT,
   SCOTT ARTMAN,
 9 MARK JONES,
   EMMETT TAYLOR, and
10 LEONARD WHITESIDE,

11                   Defendants.
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13           THIS MATTER has come before this Court upon the request of the court-appointed

14   Coordinating Discovery Attorney, Russell M. Aoki of Aoki Law PLLC, for an order granting him
15   leave to file his monthly status reports under seal electronically on the Court’s CM/ECF program.
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     The direct electronic filing of Mr. Aoki’s status reports will reduce resources in distributing his
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     monthly reports to the Court. Therefore, this Court hereby grants Mr. Aoki leave to file under seal
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     using the CM/ECF filing program and instructs the Court Clerk’s Office to provide Mr. Aoki access
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20   for filing of his status reports.

21           DONE AND ORDERED at Las Vegas, Nevada this 23rd day of February, 2016.

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                                                   Hon. Peggy A. Leen
24                                                 U.S. Magistrate Court Judge

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